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   1   Lawrence C. Ecoff, Esq. SBN 143814
       Alberto J. Campain, Esq. SBN 204068
   2   ECOFF CAMPAIN TILLES & KAY, LLP
       A Limited Liability Partnership
   3   280 South Beverly Drive, Suite 504
       Beverly Hills, California 90212
   4   Telephone: (310) 887-1850
       Facsimile: (310) 887-1855
   5   E-mail:      ecoff@ecofflaw.com
                    campain@ecofflaw.com
   6
       Attorneys for Defendants
   7   HARVEST KING TRADING USA, LIMITED,
       THOMAS JAU and PAK LAM
   8

   9                         UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11

  12   COASTAL CORPORATION LTD.              Case No. 2:22-CV-02687-DEF-JEM
  13                 Plaintiff,           DECLARATION OF ALBERTO J.
                v.                        CAMPAIN RE COMPLIANCE
  14                                      WITH ORDER CONDITIONALLY
       HARVEST KING TRADING USA,          GRANTING MOTION TO
  15   LIMITED, a California corporation, WITHDRAW AS COUNSEL OF
       THOMAS JAU, an individual aka TOM RECORD (DKT. 24)
  16   JAU; LAM, an individual; PAK LAM,
       an individual; DOES 1 through 10,  Date: February 27, 2023
  17   inclusive,                         Time: 1:30 p.m.
                                          Ctrm: 7D
  18                 Defendants.
                                          Complaint filed: April 22, 2022
  19                                      Trial Date:      June 20, 2023
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         DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
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   1                      DECLARATION OF ALBERTO J. CAMPAIN
   2         I, Alberto J. Campain, hereby declare:
   3         1.       I am an attorney at law, duly licensed to practice before all the courts of
   4   the State of California. I am a partner at Ecoff Campain Tilles & Kay, LLP, counsel
   5   of record for defendants Harvest King Trading USA, Limited, Thomas Jau and Pak
   6   Lam (collectively “Defendants”). I have personal knowledge of the facts stated in
   7   this declaration and, if called as a witness, could and would testify competently to
   8   those facts.
   9         2.       I submit this declaration in compliance with the Order Conditionally
  10   Granting Motion to Withdraw As Counsel of Record (Dkt. 24) brought by Lawrence
  11   C. Ecoff, Esq., Alberto J. Campain, Esq., and the law firm of Ecoff Campain Tilles
  12   & Kay, LLP (collectively “Ecoff Firm”). Attached hereto as Exhibit “A” is true and
  13   correct copy of the Order.
  14         3.       The current addresses and phone numbers for Thomas Jau, Pak Lam
  15   and Harvest King Trading USA, Limited, verified as accurate on February 22, 2023
  16   via a telephone call with Thomas Jau, are 725 W. Duarte Road, #1581, Arcadia, CA
  17   91007, (626) 893-3699.
  18         4.       This declaration hereby informs Thomas Jau, Pak Lam and Harvest
  19   King Trading USA, Limited and all attorneys of record that the stated addresses will
  20   be the address to which all future documents will be served or sent until changed by
  21   appropriate notice or substitution of attorney;
  22         5.       This declaration hereby informs Thomas Jau, Pak Lam and Harvest
  23   King Trading USA, Limited of all future dates now set in this action, including, but
  24   not limited to, pre-trial conference related dates, discovery cut-off dates, the motion
  25   cut-off date, and dates relating to any pending discovery obligations
  26
           Last day for hearing motions (except motions to           March 13, 2023
  27       amend pleadings or add parties, LR 7 (Monday)
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          DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
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   1
           Last day to conduct ADR Proceeding, LR 16-15           March 27, 2023
   2
           Trial Documents (Set One)                              April 24, 2023
   3
           All Trials: File Memo of Contentions of Fact and
   4       Law, LR 16-4; Exhibit & Witness Lists, LR 16-5,
   5       6;Status Report Regarding Settlement; Motions in
           Limine (no more than five motions per side may be
   6       filed with Court permission)
   7       Court Trial Only: Lodge Findings of Fact and
   8
           Conclusions of Law; LR 52; File Summaries of
           Direct Testimony (optional)
   9
           Trial Documents (Set Two) All Trials: Lodge            May 1, 2023
  10
           Pretrial Conference Order, LR 16-7; File
  11       Oppositions to Motions in Limine
  12       Jury Trial Only: File Agreed Set of Jury
           Instructions and Verdict Forms;
  13
           File Statement Regarding Disputed Instructions and
  14       Verdict Forms
  15
           Pretrial Conference, LR 16; Hearings on Motions        May 15, 2023
  16       in Limine (Monday)                                     3:00 p.m
  17
           Trial (jury) (Duration Estimate: 3 days) (Tuesday)     June 20, 2023
  18
                                                                  8:30 a.m.
  19
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             6.     This declaration hereby informs Pak Lam and Thomas Jau that any
  21
       individual appearing pro se will be required to comply with this Court’s standing
  22
       orders, this District’s Local Rules, the Federal Rules of Civil Procedure and all other
  23
       Federal Rules
  24
             7.     This declaration hereby informs Harvest King Trading USA, Limited
  25
       that it cannot appear without counsel, and of the consequences of its failure timely
  26
       to obtain counsel. See Local Rule 83-2.2.2.
  27
             8.     This declaration hereby informs Thomas Jau, Pak Lam and Harvest
  28
       King Trading USA, Limited that their case file may be picked up from Ecoff
                                                  3
          DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
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   1   Campain Tilles & Kay, LLP, 280 S. Beverly Drive, Suite 504, Beverly Hills, CA
   2   90212.
   3            9.    This declaration hereby informs Thomas Jau, Pak Lam and Harvest
   4   King Trading USA, Limited that:
   5            Although the individual clients are proceeding pro se, i.e., without legal
   6   representation, they nonetheless are required to comply with Court orders, the Local
   7   Rules, and the Federal Rules of Civil Procedure. See C.D. Cal. L.R. 83-2.2.3. The
   8   Local Rules are available on the Court’s website,
   9   http://www.cacd.uscourts.gov/court-procedures/ local-rules.
  10            The Court cannot provide legal advice to any party, including pro se litigants,
  11   i.e., parties who are not represented by a lawyer. There is a free “Pro Se Clinic” that
  12   can provide information and guidance about many aspects of civil litigation in this
  13   Court.
  14            Parties in court without a lawyer are called “pro se litigants.” These parties
  15   often face special challenges in federal court. Public Counsel runs a free Federal
  16   Pro Se Clinic where pro se litigants can get information and guidance. The Clinic is
  17   located at the Roybal Federal Building and Courthouse, 255 East Temple Street, Los
  18   Angeles, CA 90012 (note that the clinic may not be open for in-person appointments
  19   during the pandemic). Pro se litigants must call or submit an on-line application to
  20   request services as follows: on-line applications can be submitted at
  21   http://prose.cacd.uscourts.gov/los-angeles, or call (213) 385-2977, ext. 270.
  22            Individual pro se litigants may submit documents for filing through the
  23   Court’s Electronic Document Submission System (EDSS) instead of mailing or
  24   bringing documents to the Clerk’s Office. Only internet access and an e-mail
  25   address are required. Documents are submitted in PDF format through an online
  26   portal on the Court’s website. To access EDSS and for additional information, visit
  27   the Court’s website at https://apps.cacd.uscourts.gov/edss.
  28            Attorneys may not use EDSS to submit documents on behalf of their clients.

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          DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
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   1   Attorneys are required by the local rules to file documents electronically using the
   2   Court’s CM/ECF System
   3         10.    This declaration hereby informs Harvest King Trading USA, Limited
   4   that failure of the client to appear through counsel no later than March 27, 2023 will
   5   result in the striking of the entity’s answer and entry of its default.
   6         11.    Proof of Service this Declaration and Order Conditionally Granting
   7   Motion to Withdraw As Counsel of Record (Dkt. 24)
   8         I declare under penalty of perjury under the laws of the State of California
   9   that the foregoing is true and correct.
  10         Executed on February 22, 2023, at Beverly Hills, California.
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                                                        /s/ Alberto J. Campain
  13                                              ALBERTO J. CAMPAIN, ESQ.
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          DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
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                                               PROOF OF SERVICE
   1                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
       Coastal Corporation Ltd. v. Harvest King Trading USA, Limited, et al., Case No. 2:22-cv-02687-DSF-JEM
   2
               I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
   3   (18) and not a party to the within action. My business address is 280 South Beverly Drive, Suite 504,
       Beverly Hills, California 90212. On February 22, 2023, I served the forgoing document(s), described as
   4   DECLARATION OF ALBERTO J. CAMPAIN RE COMPLIANCE WITH ORDER
       CONDITIONALLY GRANTING MOTION TO WITHDRAW AS COUNSEL OF RECORD (DKT.
   5
       24) on all interested parties to this action, as follows:
   6
       ☒ BY MAIL: By placing ☐ the original ☒ a true and correct copy of said document(s) in a sealed
   7     envelope(s) addressed as set forth on the service list herein, sealing it, and placing it for collection
         and mailing following ordinary business practices. I am readily familiar with the business’ practice
   8     of collection and processing correspondence for mailing with the United States Postal Service
         (USPS). Under that practice, it would be deposited with the USPS in Beverly Hills, California, on
   9     that same day with postage thereon fully prepaid in the ordinary course of business. I am aware that
         on motion of party served, service is presumed invalid if postal cancellation date or postage meter
  10     date is more than one day after date of deposit for mailing in affidavit.

  11   ☐ BY OVERNIGHT MAIL: By placing a true and correct copy of said document(s) in an
         envelope(s) designated by an express service carrier for overnight delivery, with delivery fees and
  12     postage prepaid, addressed as set forth on the service list herein, sealing it, and causing it to be
         deposited on that same day in a box or other facility regularly maintained by the carrier.
  13
       ☐ BY PERSONAL SERVICE: By placing a true and correct copy of said document(s) in an
  14     envelope(s) addressed as set forth on the service list herein, sealing it, and delivering by hand to the
         addressee(s).
  15   ☐ BY EMAIL: Under statute, rule or court order, or by agreement, by emailing said document(s) to
         the person(s) as set forth on the service list herein.
  16
       ☐ BY FACSIMILE: Under statute, rule or court order, or by agreement, by faxing said document(s)
  17     to the person(s) as set forth on the service list herein.

  18   ☐ BY NOTICE OF ELECTRONIC FILING (“NEF”): Pursuant to controlling General Order(s)
         said document(s) will be served by the Court via NEF and hyperlink to the document(s) or by
  19     electronically filing the document(s) on the Court’s ECF system.

  20   ☐ STATE: I declare under penalty of perjury under the laws of the State of California that
         the foregoing is true and correct.
  21   ☒ FEDERAL: I declare under penalty of perjury under the laws of the UNITED STATES OF
         AMERICA that the foregoing is true and correct.
  22
            SERVICE LIST:
  23
        Thomas Jau                                            Harvest King Trading USA, Limited
  24    725 W. Duarte Road, #1581                             Attn: Thomas Jau
        Arcadia, CA 91007                                     725 W. Duarte Road, #1581
  25                                                          Arcadia, CA 91007
        Pak Lam
  26    725 W. Duarte Road, #1581
        Arcadia, CA 91007
  27
        Dated: February 22, 2023                                 /s/ Stacy Aguero
  28                                                             Stacy Aguero
